Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 1 of 23 PagelD: 1

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
--- x
RESHMA ABELL,
Plaintiff, Civ. Action No.
-against-
VERIFIED
COMPLAINT

PACIRA PHARMACEUTICALS, INC.,
DAVE STACK, individually and in his
capacity as Chief Executive Officer of
PACIRA PHARMACEUTICALS, INC.,
And RICH KAHR, PETER MURPHY,
DENNIS McLOUGHLIN, PAUL
CIAVOLELLA, GLENN REISER, JOYCE
DAVIS, and MATT LEHMANN, in their
capacities as employees of PACIRA
PHARMACEUTICALS, INC.

Defendants.
x

 

COMES NOW Plaintiff Reshma Abell (“Abell” or “Plaintiff’), by and through her
undersigned counsel, The Law Offices of Neal Brickman, P.C., located at 420 Lexington
Avenue, Suite 2440, New York, New York, 10170, and as and for her complaint against
Defendants, Pacira Pharmaceuticals, Inc. (“Pacira”), Dave Stack, individually and in his capacity
as Chief Executive Officer of Pacira (“Stack”), and Rich Kahr (“Kahr’’), Pete Murphy
(“Murphy”), Dennis McLoughlin (“McLoughlin”), Paul Ciavolella (“Ciavolella”), Glenn Reiser
(“Reiser”), Joyce Davis (“Davis”), and Matt Lehmann (“Lehmann,” and, collectively,
| ‘Defendants’’), in their capacities as employees of Pacira, states and alleges as follows:

NATURE OF THE ACTION
This is an action for damages arising from the hostile work environment that Plaintiff

experienced at Pacira, Defendants’ illegal discriminatory treatment of, retaliation against, and

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 2 of 23 PagelD: 2

termination of Plaintiff under the New Jersey Law Against Discrimination (““NJLAD,” N.J.S.A.
§§ 10:5-1 to 10:5-49), and the New Jersey Conscientious Employee Protection Act (“NJCEPA,”
N.J.S.A. §§ 34:19-1 to 34:19-8), for which she seeks compensatory damages, punitive damages,
the costs of this action, and reasonable attorneys’ fees. The factual basis for Plaintiffs claims,
recounted in detail herein, includes a long history of discriminatory and retaliatory acts based, at
least in part, on her sex and national origin, which ultimately led to her termination, after
internally reporting various financial irregularities to, among others, Kahr, Murphy, McLoughlin,
Ciavolella, Reiser, Davis, and Lehmann.

This action also arises out of, inter alia, Plaintiff's complaint under Section 922(a) of the
Dodd Frank Wall Street Reform and Protection Act (“Dodd Frank,” 15 U.S.C. § 78u-
6(h)(1)(B)(i)) as a Whistleblower, filed September 14, 2018.

JURISDICTION

Jurisdiction over the federal claims is invoked pursuant to 28 U.S.C. § 1331, in that these
claims arise under the laws of the United States; pursuant to Section 922 of the Dodd Frank Act,
15 U.S.C. § 78u-6(h)(1)(B)(i)); pursuant to 28 U.S.C. § 1332, in that plaintiff and defendants are
citizens of different states; and over the state law claims pursuant to the doctrine of pendent
jurisdiction as codified in 28 U.S.C. § 1367.

| VENUE

This action is properly laid in the District of New Jersey pursuant to 28 U.S.C. §
1391(b)(1), because Defendants’ principal offices are located in this District, and (b)(2), because
a substantial part of the events and omissions giving rise to the claims occurred in this judicial

District.

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 3 of 23 PagelD: 3

PARTIES

1. Abell is an individual citizen of the United States with a primary residence in the
State of New York and a former employee of Pacira Pharmaceuticals. Abell is a female of Indian
descent.

2. Upon information and belief, at all times relevant hereto, defendant Pacira was
and is a domestic corporation duly authorized to conduct business in the State of New Jersey and
subject to the laws and statutes thereof.

3. Upon information and belief, at all times relevant hereto, defendant Stack was and
is the Chief Executive Officer of Pacira. Stack qualifies as an "employer" for purposes of
individual liability under the NJLAD and the NJCEPA because he participated directly in the
discriminatory and/or retaliatory conduct at issue in this case, and by virtue of his ability to affect
the terms and conditions of Abell's employment.

4. Upon information and belief, at all times relevant hereto, defendant Kahr was and
is the Vice President of Human Resources at Pacira. Kahr reports directly to Stack. Kahr
qualifies as an "employer" for purposes of individual liability under the NJLAD and the
NJCEPA because he participated directly in the discriminatory and/or retaliatory conduct at issue
in this case, and by virtue of his ability to affect the terms and conditions of Abell's employment.

5. Upon information and belief, at all times relevant hereto, defendant McLoughlin
was Abell’s supervisor, and reported directly to Stack, among others. McLoughlin qualifies as
an "employer" for purposes of individual liability under the NJLAD and the NJCEPA because he
participated directly in the discriminatory and/or retaliatory conduct at issue in this case, and by

virtue of his ability to affect the terms and conditions of Abell's employment.

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 4 of 23 PagelD: 4

6. Upon information and belief, at all times relevant hereto, defendant Ciavolella
was Abell’s supervisor, and Pacira’s Senior Director of Business Analytics, Market Research and
Operations, who reported directly to Stack, among others. Ciavolella qualifies as an "employer"
for purposes of individual liability under the NJLAD and the NJCEPA because he participated
directly in the discriminatory and/or retaliatory conduct at issue in this case, and by virtue of his
ability to affect the terms and conditions of Abell's employment.

7. Upon information and belief, at all times relevant hereto, defendant Reiser was
Abell’s supervisor, and reported directly to Stack, among others. Reiser qualifies as an
"employer" for purposes of individual liability under the NJLAD and the NJCEPA because he
participated directly in the discriminatory and/or retaliatory conduct at issue in this case, and by
virtue of his ability to affect the terms and conditions of Abell's employment.

8, Upon information and belief, defendant Davis was Pacira’s Vice President of
Strategic Alliance, and reported directly to Stack, among others. Davis qualifies as an
"employer" for purposes of individual liability under the NJLAD and the NJCEPA because she
participated directly in the discriminatory and/or retaliatory conduct at issue in this case, and by
virtue of her ability to affect the terms and conditions of Abell's employment.

9. Upon information and belief, defendant Matt Lehmann was Pacira’s Senior Vice
President of Commercial, and reported directly to Stack, among othera. Lehmann qualifies as an
"employer" for purposes of individual liability under the NJLAD and the NJCEPA because he
participated directly in the discriminatory and/or retaliatory conduct at issue in this case, and by

virtue of his ability to affect the terms and conditions of Abell's employment.

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 5 of 23 PagelD: 5

FACTUAL BACKGROUND

 

Abell’s Employment at Pacira Pharmaceuticals, Inc.

10. Pacira Pharmaceuticals, Inc. (Pacira) is a specialty pharmaceutical company
which makes a non-opiod analgesic for post-surgical pain control called Exparel.

11. From May, 2014 through January, 2017, Abell worked for Pacira as a Surgical
Account Specialist. From January 2017 until March 14, 2018, Abell worked for Pacira as a
Senior Surgical Account Specialist.

12. At Pacira, Abell’s job responsibilities as a Senior Surgical Account Specialist
included, but were not limited to, the following: successfully promoting Exparel at all major
hospitals in the five boroughs of New York City and in Westchester County, New York; growing

| and increasing the profitability of the pharmaceutical territory; and training and providing case
coverage to anesthesiologists and surgeons in area hospitals in, inter alia, orthopedic,
cardiovascular, podiatric, obstetrics/ gynecology, general surgery, colorectal, urology, oncology,
plastics, and bariatric surgery departments.

13. Abell’s overall pay for this position was ultimately determined by Ciavolella,
who, starting in 2014, made the decisions as to how and whether to cap Abell’s — and other
similarly situated employees’ — incentive compensation.

14. Abell was known at Pacira as a standout go-getter who regularly grew sales: by
$2,363,920 between May and December 2014; by $4,462,750 in 2015; by $3,777,038 in 2016;
and by $3,778,523 in 2017. These statistics indicate that Abell outperformed similar and

competing markets at twice the average growth, consistently and for four years in a row.

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 6 of 23 PagelD: 6

15. In fact, Reiser and Murphy nicknamed Abell “Jordan,” as in Michael Jordan, as of
the end of 2016 — due to her unprecedented success as a senior representative in generating
revenue, fostering relationships, and growing Pacira’s book of business.

15. Abell was so successful as a Senior Surgical Account Specialist that Pacira
informed her that she was in line for a new position, Director of Post-Op Pain Management, and
rewarded her with additional work without a commensurate bump in title or salary.

16. From approximately February 2017 until March 14, 2018 termination, in addition
to her Senior Surgical Account Specialist duties, Abell actually performed the “unofficial” role
of Pacira’s Director of Post-Op Pain Management. These duties included, but were not limited
to, developing and executing a national post-operative pain management training program;
initiating and developing industry partnerships and strategic alliances with other pharmaceutical
companies; launching “Field Block” training for anesthesia and various surgical services nation-
wide; and creating a new specialty representative department, including recruiting, creating
compensation and business plans, and executing territory designs.

17. At Pacira, Abell was a dedicated, productive, and valuable employee who got
along well with her colleagues and had no issues with her supervisor or others. She always
received positive performance evaluations and was generally respected by her coworkers for her
experience and tenacity.

A Pervasive Culture of Sexual Discrimination in a Male-Dominated Office

18. Abell achieved these significant accomplishments, and consistently outperformed

her peers, and met or exceeded her sales quotas despite an overtly hostile, male-dominated office

where raunchy, sexually-based jokes and innuendo were the norm.

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 7 of 23 PagelD: 7

19. It was business as usual for Abell to hear in a typical workday, in sum or
substance, that the reason she was so successful was because she was “sleeping with her clients,”
or “blowing someone,” or words to that effect.

20. Abell performed her job so diligently that she won coveted positions in Pacira’s
Circle of Excellence and President’s Club in 2015, 2016, and 2017 — yet the assumption was that
she was only successful due to her sex, and her alleged willingness to exploit her sex, in
obtaining new business.

21. In addition, from at least February 2017, Abell was expected to do the work of
two separate jobs, without additional compensation or official change in title, because she was
required to be an accommodating female who was first and foremost a “team player.”

22. Abell was regularly the recipient of sexually charged comments, jokes, and
innuendo — but she understood that she was not to go to Human Resources to complain about the
sophomoric, inappropriate, and sexually demeaning commentary — because to do so would break
some kind of industry ‘code’ among her male co-workers.

Abell is Promised a Promotion, and is Summarily Terminated Instead

23. Starting in February 2017, Abell developed and executed a company-wide pilot
program for Post-Operative Pain Management, approved by Reiser and Murphy.

24. Onor about August 22, 2017, Abell successfully presented this pilot program to
Pacira’s Alibaba team, a group which included, inter alia, Pacira’s commercial upper and middle
management, Chief Operating Officer, legal team, National Accounts department, and Medical

Affairs department.

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 8 of 23 PagelD: 8

25. Shortly thereafter, Abell met with Reiser and Murphy, and they agreed on a
promotion and change of title for Abell from Senior Surgical Account Specialist to Director of
Post-Operative Pain Management, with a concomitant raise — to be effective January 2, 2018.

26. Reiser and Murphy repeatedly assured Abell that all was “on track” for her
promotion, both the change of title and the corresponding raise in pay. However, Abell was also
told by Reiser and Murphy that Stack had to officially “sign off’ on the promotion, although they
had already obtained his verbal approval.

27. Abell had two meetings with Reiser regarding this promotion and title change in
November and December of 2017. The assurances that Abell’s promotion was a “sure thing”
kept coming.

28. Abell tried, unsuccessfully, to meet with Murphy three separate times between
January 2, 2018, and January 30, 2018, when there was no forthcoming announcement regarding
her promotion. Murphy cancelled each time.

29. On January 31, 2018, Abell was finally able to meet with Murphy. Abell asked
Murphy when he would announce her promotion, and Murphy responded, in sum and substance,
that it would happen when Stack “signed off.”

30. Abell then confirmed with Murphy that the promotion had already been verbally
approved by Stack. Murphy then explained that that he still needed “official” approval.

31. Abell then requested that Murphy obtain the approval by February 2, 2018, and he
responded that we would need to “catch Stack in the right mood” due to his “explosive” temper.

32. Abell then suggested that perhaps the promotion could be approved by February
10, 2018, in time for Pacira’s National Sales Meeting (“NSM”) which was scheduled from

February 11 to February 15, 2018 in Florida.

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 9 of 23 PagelD: 9

33. At the conclusion of the January 31, 2018 meeting, Murphy instructed Abell to
“wait for his call within the next two weeks” so that Abell could go to the corporate office and
present to Stack “af and when’ he was in “good mood.”

34. Abell did not receive any calls from Murphy in that two week period.

35. On February 10, 2018, Abell reached out to Murphy and Reiser and asked them to
meet her upon their arrival at the NSM on February 11, 2018. They accepted, and on February
11, 2018, they met — Abell thought, to finalize the announcement for the Abell’s director position
so that she could begin interviewing some of the representatives who would take part in her pilot
program while at the NSM.

36. Instead, Murphy told Abell he needed more time due to a FDA Advisory Meeting
that was scheduled on February 15, 2018, because Stack was preoccupied with preparing for that
meeting, and might not be in the “right mood” until after then.

Abell Opts Out of Optional “Women’s Leadership Meeting” and is Excoriated for
Attending “Men’s” Golf Event Instead

37. As part of the NSM, Pacira had scheduled a “Women’s Leadership Meeting”
from 6pm to 9:30pm on February 13, 2018. This meeting was explicitly designated as
“optional.”

38, Abell knew about this event, and decided not to attend because there was another
event scheduled at Top Golf at the same time which she preferred to attend.

39. Abell was aware that while the “Women’s Leadership Meeting” was discussing
otherwise valuable topics like female empowerment in the workplace and maintaining a work-
life balance, all of Pacira’s male managers and decisionmakers in attendance at the NSM would
be at the Top Golf event. Abell recognized this event as a professional networking opportunity

that she believed she should attend.

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 10 of 23 PagelD: 10

40. Specifically, Abell had been tasked by Murphy and Reiser with recruiting four
new representatives for her new department. In order to do that, Abell required one-on-one
conversations with Pacira’s four Regional Sales Directors, all of whom were to be present at the
Top Golf event.

41. The Top Golf event was, for Abell, the perfect opportunity to make these personal
connections and recruit the best representative for her new team.

42. In fact, as early as February 1, 2018, she had asked one of the schedulers of the
event, Gio Vendemia (“Vendemia,” Pacira’s Vice President for the Midwestern Region), if she
could attend the upcoming Top Golf event on February 13, 2018. Vendemia had replied in the
affirmative.

43. Nevertheless, as she was preparing to leave for the Top Golf event with her male
coworkers, another Regional Sales Director, Rob Rock (“Rock”), approached Abell, in a hostile
and threatening manner, and said “you’re not going.” Rock then followed this pronouncement

99 66

with “‘it’s a guy thing,” “you should have asked permission,” and other sexist comments.

44, Abell responded by saying it was a company-sponsored event, and not a social
event, and that she had already asked and received permission from Vendemia.

45. Ultimately, the conversation ended in a yelling match on both sides, leaving Abell
visibly distraught. Upon information and belief, one of the several witnesses to this
discriminatory and harassing exchange told Reiser in detail what had transpired moments before.

46. Reiser had been present at the TopGolf event, but had not witnessed the

interaction between Abell and Rock.

10

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 11 of 23 PagelD: 11

47. Also present was Pacira’s Area Director West, Vaughn Schouten. Schouten was
the first supervisor Abell approached after the incident, because he had authority over Rock and
Vendemia.

48.  Pacira employees Pat Nolan (“Nolan”), Ken Wolfe (“Wolfe”), Jim Macarelli
(“Macarelli’”), and Mike Corn (“Corn”) witnessed the entire episode between Rock and
Vendemia.

49, Each of the above witnesses individually reported the incident between Abell and
Rock, and Rock’s completely inappropriate and discriminatory behavior, to Reiser.

50. Reiser then left the immediate area to contact Kahr at Pacira’s Human Resources
department.

51. Wolfe, Macarelli, Nolan, and Corn then accompanied Abell back to their hotel.

52. Another of the witnesses, Nolan, then escorted Abell to her room.

53. | Upon information and belief, Reiser and Murphy began an “investigation” into
the events on the morning of February 14, 2018.

54. On February 21, 2018, Kahr called Abell as part of his investigation into the
February 13, 2018 incident with Rock.

55. On March 6, 2018, Abell spoke to Murphy regarding her upcoming appearance
with Rock at the Miami Breast Surgery conference. Murphy instructed Abell to “stay away from
everyone” and not be in the Pacira booth at the same time as Rock. Abell responded that she was
a professional, and that she and Rock used to be friends and would be fine working together.

56. On March 13, 2018, Abell was called by Kahr and Murphy. Abell was told that
the investigation regarding Rock was “inconclusive,” and there would be no disciplinary action

taken.

11

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 12 of 23 PagelD: 12

Abell is Told There is a Completely Unrelated, and Bogus, Employee Investigation Into
Her Behavior at the NSM

57. On the same phone call, Abell was also informed of a new and completely
unrelated investigation into her behavior at the NSM.

58. Specifically, Kahr told Abell that “someone” complained that they saw Abell
“look at her phone for thirty minutes” during one of the NSM sessions, and it was a “kama sutra”
website.

59. Kahr asked if these vague allegations were true, and Abell said that yes, she did
look at her phone, but for seconds rather than minutes. Abell then explained that she had
received a text from one of her physician clients on her personal phone, and that the text in
question was neither pornographic nor offensive.

60. Abell then offered to apologize to anyone she may have unintentionally offended,
and told Kahr and Murphy that such an incident would never happen again.

61. Abell further stated that was the last time she would open any texts or other items
on her phone in front of her coworkers. Abell then described the “kama sutra” message that the
physician had sent as related to her Indian culture, and offered to send it on to Kahr for his
review.

62. Kahr responded, “I’d rather you didn’t,” and said he would “investigate” and get
back to Abell in a few days.

63. The same day, a mere three hours later, Abell received a conference call invite for
an 8am call on March 14, 2018.

64. Kahr and Murphy were both present for the March 14, 2018 conference call.
Kahr informed Abell that “the final decision to terminate her was concluded by the executive

team” because she “did not meet the core values of the company.”

12

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 13 of 23 PagelD: 13

65. Prior to this phone call, there were no warnings, discussions of a performance
plan, probation or other steps taken. Abell was summarily terminated based on these vague and
conclusory allegations — for alleged conduct that, had a man engaged in the same or similar
behavior, would have gone completely unnoticed in Abell’s workplace.

66. This termination was also, at least in part, in retaliation for Abell’s repeated
reporting of business irregularities at Pacira.

Abell Noticed, and Reported Upon, Unlawful Business Irregularities at Pacira

67. Soon after her hire, Abell noticed that at Pacira, there was a typical practice of
providing monetary disbursements in the form of “grants” to obtain business and facility
approvals. Pacira would provide “grants” to potentially high-revenue-generating hospital
accounts based on volume (not patient type) to get their product included in the hospital’s
formulary and/or to encourage unwilling surgeons and anesthesiologists to use their product.

68. These “grants” were approved by Davis, the Vice President of Strategic Alliance,
based on anticipated or potential sales. These sales were then reported and declared as revenue.

69. Abell observed, on a regular basis, that these grant amounts did not appear to be
reported or offset against the declared revenue from these sales.

70. In addition, there were a number of accounts designated as “White Space,”
meaning that there were no Account Specialists or other Sales personnel dedicated to those
accounts. These sales numbers were not reported or recorded in the daily sales reports.

71. | When Abell repeatedly asked to see the White Space numbers on various
accounts, she was informed by her supervisors that she was only allowed to view the sales

numbers on her own accounts — even if she was asked to cover a White Space account.

13

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 14 of 23 PagelD: 14

72. Specifically, Murphy told Abell that he would not share with, or otherwise
disclose, these numbers to her.

73. Abell also became aware that Pacira regularly allows Medical Affairs (“MA”)
staff, whom are legally only allowed to provide clinical medical information outside of the sales
context, to work as sales liaisons generating revenue.

74. For example, Pacira regularly allowed sales representatives to work with a MA
liaison since at least 2012.

75. However, pharmaceutical companies are required to keep MA and sales separate
to avoid any conflicts between medical information providers and sales representatives. Pacira
regularly ignored this distinction and allowed these non-sales and supposedly neutral MA
employees to sell their product from their non-commission-based roles. Abell complained to her
supervisors, and others, that Pacira’s MA department functions as a disguised sales operation.

76. Another irregularity Abell observed was that Pacira allowed its highly salaried,
non-sales Marketing, National Accounts, Strategic Alliance (and MA) departments to directly
sell to customers, and to work directly with the sales representatives in doing so. However, these
non-sales departments are billed as Pacira’s informative and clinical resource and support
system. Pacira’s operating budget makes it look as if these departments are all separate and
discrete; in reality, Pacira allows their functions to co-mingle and overlap despite budgeting for
each department separately.

77. Abell also noticed that throughout the tenure of her employment, Pacira allowed
staff from the same highly salaried, non-sales departments listed in 965, supra, to participate in
incentive programs reserved for incentive-paid sales employees whose compensation is based on

sales numbers and performance objectives.

14

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 15 of 23 PagelD: 15

78. For example, Pacira allowed a group of these employees to participate in sales
department “Circle of Excellence” (“COE”) incentive and awards trips. This provides an
inherent conflict between the resource and support functions of these departments and the
incentive-based sales model.

79. Abell brought this issue, which she saw as an ethical and compliance violation, to
Murphy and Reiser. They told her, in sum and substance, that it was the executive office’s
decision and she should keep her mouth shut.

80. In addition, Abell also learned that the majority of Pacira’s Executive Team and
Board of Directors are close personal friends of its Chief Executive Officer, David Stack. This
nepotism is an issue because it ensures that David Stack remains in his position, as the group
owns a significant quantity of equity holdings in Pacira and are therefore disincentivized from
taking any action that could lower the share price or value of those holdings.

81. This was another issue which Abell shared with various of Pacira’s supervisors
and officers — with Vice President of Sales (2012-2016) David Kaplan (“Kaplan”) as early as
2014; with Murphy and Reiser repeatedly in 2016, 2017, and early 2018; and as late as the last
week of February, 2018, with Pacira Board Member Mark Kronenfeld, MD (“Kronenfeld’’).

82.  Abell’s understanding is that former Chief Operating Officer Scott Braunstein,
resigned abruptly at the end of March, 2018, because he was not comfortable with, inter alia,
Pacira’s methods of computing revenue or generating sales figures.

83. Since at least 2014, Abell noticed that Pacira’s stock share prices decreased
significantly. When Pacira initially offered its stock, it billed Exparel as the next new
blockbuster drug on the market and relied on paid and sponsored studies. However, once

Exparel was released, it became clear to the public that the product’s effectiveness was largely

15

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 16 of 23 PagelD: 16

dependent on the vascularity of the individual patient. However, Abell realized that Pacira was
aware of this issue with Exparel prior to selling its stock, and failed to disclose it, thus initially
artificially inflating the price of Pacira’s stock.

84. Abell reported these irregularities, which she believed were securities law and/or
ethical violations, at various times between at least May 2014 and her termination on March 14,
2018, to the following individuals: Chief Financial Officer (2008-2017) and President (2015-
2017) James Scibetta (“Scibetta”); Kronenfeld; Kaplan; Vice President of Sales (2016-2017)
Tom Sluby (“Sluby”); Chief Compliance Officer (2016) Bob Weiland (“Weiland”); and her
immediate supervisors during the course of her employment, Murphy, McLoughlin, Ciavolella,
Tanya Markvicka (“Markvicka’’), and Reiser.

85. Each time Abell made a report of these unlawful irregularities over the course of
her employment, whether via email or in person, she was told, in sum and substance, ‘to mind
her own business,’ to focus on her work, or was simply unanswered. In other words, Abell’s
concerns were rebuffed and ignored — just like the misogynistic and sexually charged
commentary of her coworkers and supervisors, throughout her tenure at Pacira.

86. | When Abell was unjustifiably terminated on March 14, 2018, for allegedly
engaging in conduct that did not meet Pacira’s “core values,” it was conveniently two weeks
before the end of the first financial quarter — so that Abell was not entitled to her incentive or
commission compensation for that quarter, stock awards, or stock options as an additional
punishment for reporting the above irregularities.

87. Abell also left Pacira with no severance pay, or any other benefits or

compensation.

16

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 17 of 23 PagelD: 17

88. The circumstances of Abell’s unjustified termination have made it effectively
impossible for Abell to secure permanent full-time employment in her field.

89. | Upon information and belief, Pacira has perpetuated a rumor, now generally
known to other companies in her field, that Abell was terminated for sharing a sexually
inappropriate website at a national sales meeting and engaging in unacceptable behavior and
conduct inconsistent with Pacira’s core values.

90. The damage this has done to Abell’s reputation within her industry — in which she
is an expert, with an otherwise unblemished record — will take years to rebuild, if, and when,
Abell is able to secure another comparable position at another company.

Abell Files a Complaint with the SEC Office of the Whistleblower

91.  Inor about August 2018, Abell prepared to report these irregularities to the
relevant authorities.

92. On September 14, 2018, Abell filed a complaint under Section 922(a) of Dodd
Frank, 15 U.S.C. § 78u-6(h)(1)(B)(i) as a Whistleblower.

AS AND FOR A FIRST CAUSE OF ACTION
(Sex Discrimination under New Jersey Law Against Discrimination (““NJLAD”), N.J.S.A.
§§ 10:5-1 to 10:5-49)

93. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs “1" through “92" with the same force and effect as if fully set forth herein at length.

94. Plaintiff was terminated from a hostile work environment where she was regularly
and overtly discriminated against on the basis of her gender, female.

95. The primary basis for the termination of Plaintiff was her sex.

96. The NJLAD prohibits discrimination on the basis of sex.

17

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 18 of 23 PagelD: 18

97.  Asadirect result of this discrimination, Plaintiff suffered injury and harm in an
amount to be determined at trial, and requests a judgment in no event less than $1,000,000 in
compensatory damages; the costs and disbursements of this action, including reasonable
attorneys’ fees; all relevant interest; and any such other relief to Plaintiff as this Court deems just
and proper.

AS AND FOR A SECOND CAUSE OF ACTION
(Sexual Harassment Hostile Work Environment under New Jersey Law Against
Discrimination (“NJLAD”), N.J.S.A. §§ 10:5-1 to 10:5-49)

98. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs “1" through “97" with the same force and effect as if fully set forth herein at length.
99. | The NJLAD prohibits sexual harassment and a hostile work environment.

100. A hostile work environment is a workplace so ridden with discriminatory
intimidation, ridicule, and insult that is sufficiently severe or pervasive to alter the condition of
the victim’s employment and create an abusive work environment.

101. The environment at Pacira was such that a reasonable employee in Plaintiff's
shoes would perceive it as hostile.

102.  Asadirect result of this hostile work environment, Plaintiff suffered injury and
harm in an amount to be determined at trial, and requests a judgment in no event less than
$1,000,000 in compensatory damages; the costs and disbursements of this action; all relevant
interest; and any such other relief to Plaintiffs as this Court deems just and proper.

AS AND FOR A THIRD CAUSE OF ACTION
(Retaliation under New Jersey Law Against Discrimination (““NJLAD”), N.J.S.A. §§ 10:5-1
to 10:5-49)

103. Plaintiff repeats, reiterates and realleges each and every allegation set forth in

paragraphs “1" through “102" with the same force and effect as if fully set forth herein at length.

18

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 19 of 23 PagelD: 19

104. The NJLAD prohibits workplace discrimination, adverse employment decisions
and disparate treatment in retaliation for the submission of a complaint alleging discrimination
on the basis of gender.

105. Directly after Plaintiff complained of discrimination, and in retaliation therefor,
Defendants ratified and condoned Plaintiffs the discriminatory and hostile behavior by failing
and refusing to stop that behavior, or to intervene in any way, to protect Plaintiff.

106. Instead, Defendants ratified and condoned this discrimination and retaliation by
terminating Plaintiff after crediting vague, conclusory, and ultimately pretextual allegations of

ee

conduct that Plaintiff purportedly did not meet Pacira’s “‘core values.”

107. Unjustifiably terminating Plaintiff was the ultimate adverse employment action.

108. There was no legitimate non-discriminatory basis for these adverse employment
actions.

109. As adirect result of this improper retaliation, Plaintiff has suffered injury and
harm in an amount to be determined at trial, and requests a judgment in no event less than
$1,000,000 in compensatory damages; the costs and disbursements of this action, including
reasonable attorneys’ fees; all relevant interest; and any such other relief to Plaintiff as this Court

deems just and proper.

AS AND FOR A FOURTH CAUSE OF ACTION
(NJ Conscientious Employee Protection Act (““NJCEPA”), N.J.S.A. §§ 34:19-1 to 34:19-8)

110. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs “1" through “109" with the same force and effect as if fully set forth herein at length.

111. The NJCEPA prohibits the retaliatory termination of employees who disclose, or
object to, certain actions that the employees reasonably believe are either illegal or in violation of

public policy.

19

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 20 of 23 PagelD: 20

112.  Plaintiffreasonably believed that Pacira was violating a law, rule or regulation

promulgated pursuant to law, or a clear mandate of public policy.

113. Specifically, Pacira was violating 12 U.S.C. § 53 et seq., the Dodd Frank Wall
Street Reform and Consumer Protection Act, and various other securities laws, by engaging in

these various business irregularities.

114. Plaintiff performed a “whistle-blowing activity” by internally reporting her
concerms to corporate officers Kahr, Kaplan, Weiland, Lehmann, and Murphy as well as her
immediate supervisors during the course of her employment, McLoughlin, Ciavolella,
Markvicka, and Reiser.

115. Plaintiff was then terminated in whole or in part for her whistle-blowing
activities.

116. Specifically, because Plaintiff continually made internal report of various business
irregularities and Dodd Frank violations, she was silenced by being summarily terminated.

117. Termination is an adverse employment action.

118. Plaintiff also performed a whistle-blowing activity by reporting to the SEC, in
filing a complaint under Section 922(a) of Dodd Frank, 15 U.S.C. § 78u-6(h)(1)(B)(i), as a
Whistleblower.

119. Asadirect result of this adverse employment action after engaging in a protected
activity, Plaintiff has suffered injury and harm in an amount to be determined at trial, and
requests a judgment in no event less than $1,000,000 in compensatory damages; the costs and
disbursements of this action, including reasonable attorneys' fees; all relevant interest; and any

such other relief to Plaintiff as this Court deems just and proper.

20

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 21 of 23 PagelD: 21

AS AND FOR A FIFTH CAUSE OF ACTION
(Section § 922(a) of the Dodd Frank Wall Street Reform and Consumer Protection Act
(“Dodd Frank”)), 15 U.S.C. § 78u-6(h)(1)(B)()

 

120. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs “1" through “119" with the same force and effect as if fully set forth herein at length.

121. Under Dodd Frank, 15 U.S.C. § 78u-6(h)(1)(B)@), it is unlawful for an employer
to discharge or retaliate against an employee for engaging in protected whistleblowing activities

122. Plaintiff engaged in protected activity by internally reporting to corporate officers
Kahr, Kaplan, Weiland, Lehmann, and Murphy as well as her immediate supervisors during the
course of her employment, McLoughlin, Ciavolella, Markvicka, and Reiser.

123. Specifically, Plaintiff reported to the corporate officers of Pacira, and supervisors
named in 996 supra, numerous allegations of unlawful activity under Dodd Frank. See {| 66-72
supra.

124.  Pacira had actual knowledge of Plaintiffs reporting to the individuals named
above, and thus engaging in the protected activity

125. Pacira had already engaged in an adverse employment action by terminating
Plaintiff, in whole or in part, in retaliation for her internal complaints, a protected activity.

126. This adverse employment action was a result of Plaintiff engaging in protected
activity.

127. Asa direct result of this adverse employment action after engaging in a protected
activity, Plaintiff has suffered injury and harm in an amount to be determined at trial, and
requests a judgment in no event less than $1,000,000 in compensatory damages; the costs and
disbursements of this action, including reasonable attorneys' fees; all relevant interest; and any

such other relief to Plaintiff as this Court deems just and proper.

21

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 22 of 23 PagelD: 22

JURY DEMAND
128. Plaintiff hereby demands a jury trial of all the facts and allegations set forth

herein under Fed. R. Civ. P. 38(b)(1) and 38(c).

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for the following relief:

a. actual, compensatory, and statutory damages in an amount to be determined at
trial;

b. punitive damages as allowed by law;

C. reasonable attorneys’ fees as allowed by law;

d. an award of all costs;

€. any and all such further relief as this Court deems just and proper.

Dated: New York, New York
November [ , 2018

Comb
Milena Pisatlo-McNally, ps (DNJ Bar ID: 013942012)
Neal Brickman, Esq.
The Law Offices of Neal Brickman, P.C.
Attormeys for Plaintiff
420 Lexington Avenue, Suite 2440
New York, New York 10170
(212) 986-6840

22

 
Case 2:18-cv-16509-MCA-LDW Document1 Filed 11/28/18 Page 23 of 23 PagelD: 23

VERIFICATION
State of New York }
} Ss.
County of New York }
Reshma Abell, being duly sworn, deposes and says:
I am the Plaintiff herein. I have read the foregoing Complaint, and know the contents

thereof. The same are true to my own knowledge, except as to matters alleged on information

and belief, and as to those matters, your affiant believes them to be true.

[Merl

Reshma Abell

Sworn to before me this
Zh day of November, 2018.

Gece
NOTARY PUBLIC

MILENAG, PISANO-MCNALLY
Notary Public, State of New York
Registration No, 02P16286728
Qualified in Dutchess County
Gommission Expires July 29, 2029

23

 
